              Case 2:08-cr-00427-MCE Document 832 Filed 01/09/14 Page 1 of 2



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 6   Attorney for Defendant
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 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                       )       No. 2:08-CR-00427-MCE
                                                     )
                                                     )       STIPULATION AND
12          Plaintiff,                               )       ORDER CONTINUING CASE AND
13                                                   )       EXCLUDING TIME
     v.                                              )
14                                                   )
     ZOYA BELOV.                                     )       Date: January 30, 2014
15                                                   )       Time: 9:00am.
                                                     )       Judge: Honorable Morrison C. England
16
            Defendant.                               )
                                                     )
17                                                   )
                                                     )
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19          IT IS HEREBY STIPULATED by and between the parties hereto through their

20   respective counsel, Phil Ferrari, Assistant United States Attorney, attorney for plaintiff and Kyle

21   Knapp, attorney for defendant, ZOYA BELOV, that the current hearing date of January 9, 2014

22   be vacated and the matter be re-set for January 30, 2014 at 9:00 am. Good cause for the

23   continuance is due to the need to address the probation impacts of her cooperation in this matter

24   and to afford counsel additional time to provide mitigation evidence and materials to probation.

25   Dated: December 30, 2013                                        Respectfully submitted.
26
                                                                      /s/ Kyle R. Knapp
27                                                                  Kyle R. Knapp
                                                                    Attorney for Defendant, Zoya Belov
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             Case 2:08-cr-00427-MCE Document 832 Filed 01/09/14 Page 2 of 2


     Dated: December 30, 2013                                Respectfully submitted.
 1

 2                                                             /s/ Phil Ferrari
                                                             Phil Ferrari
 3                                                           Assistant U.S. Attorney
                                                             Attorney for Plaintiff
 4

 5                                             ORDER

 6

 7          GOOD CAUSE APPEARING and pursuant to the stipulation of the parties, the January
 8   9, 2014, hearing is VACATED and the matter is reset for judgment and sentencing on January
 9   30, 2014, at 9:00 AM in Courtroom 7.
10          IT IS SO ORDERED.
11   Dated: January 8, 2014
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